Case 3:22-cv-00049-NKM-JCH Document 463 Filed 08/06/24 Page 1 of 6 Pageid#: 6670




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


   BABY DOE, et al.,                           )
                                               )
                 Plaintiffs,                   )
                                               )
   v.                                          ) Case No. 3:22-cv-00049-NKM
                                               )
   JOSHUA MAST, et al.,                        )
                                               )
                 Defendants.                   )
                                               )

                         MOTLEY’S CONSENT MOTION TO
                  EXTEND TIME TO ANSWER AMENDED COMPLAINT

         Under Federal Rule of Civil Procedure 6(b)(1)(A), Defendant Kimberley Motley

  respectfully moves this Court for an Order extending Ms. Motley’s time to answer Plaintiffs’

  Amended Complaint by two weeks, to and including August 21, 2024. In support of this motion,

  Ms. Motley states the following:

         1.     On July 24, 2024, the Court denied Ms. Motley’s motion to dismiss for lack of

  personal jurisdiction and for failure to state a claim, making her deadline for answering the

  Amended Complaint August 7, 2024. See Dkt. No. 455.

         2.     Federal Rule of Civil Procedure 6(b)(1)(A) allows a court to extend deadlines,

  including the time within which to respond to a complaint, upon a showing of “good cause.” Ms.

  Motley respectfully submits that good cause exists for granting the requested two-week extension

  to answer the Amended Complaint.




                                                 1
Case 3:22-cv-00049-NKM-JCH Document 463 Filed 08/06/24 Page 2 of 6 Pageid#: 6671




          3.      Given the length of the Amended Complaint, the complexity of the factual

  allegations and legal issues presented, and Ms. Motley’s potential counterclaims against Plaintiffs,

  Ms. Motley seeks a modest extension of two weeks to file her responsive pleading.

          4.      Ms. Motley is not making this motion for any improper purpose or for delay. She

  is filing this motion before the original deadline, as required by Rule 6(b)(1)(A). Additionally,

  there is no potential for prejudice to Plaintiffs if the Court grants this short extension.

          5.      Ms. Motley’s counsel has conferred with Plaintiffs’ counsel, and Plaintiffs consent

  to the requested two-week extension to answer.

          For the reasons set forth above, good cause exists to grant Ms. Motley’s motion. Ms.

  Motley, therefore, respectfully requests that the Court grant the motion and extend the deadline for

  her to answer the Amended Complaint by two weeks, to and including August 21, 2024. A

  proposed order is attached hereto as Exhibit A for the Court’s convenience.




  Dated: August 6, 2024.                                  Respectfully submitted,

                                                          /s/ Thomas W. Davison
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                                                     2
Case 3:22-cv-00049-NKM-JCH Document 463 Filed 08/06/24 Page 3 of 6 Pageid#: 6672




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                                       3
Case 3:22-cv-00049-NKM-JCH Document 463 Filed 08/06/24 Page 4 of 6 Pageid#: 6673




                                  CERTIFICATE OF SERVICE

         I certify that on August 6, 2024, I caused the foregoing to be electronically filed with the

  Court’s CM/ECF system, which will provide service to all counsel of record.

                                                       /s/ Thomas W. Davison
                                                       Thomas W. Davison




                                                  4
Case 3:22-cv-00049-NKM-JCH Document 463 Filed 08/06/24 Page 5 of 6 Pageid#: 6674




                        EXHIBIT A
Case 3:22-cv-00049-NKM-JCH Document 463 Filed 08/06/24 Page 6 of 6 Pageid#: 6675




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


   BABY DOE, et al.,                          )
                                              )
                 Plaintiffs,                  )
                                              )
   v.                                         ) Case No. 3:22-cv-00049-NKM
                                              )
   JOSHUA MAST, et al.,                       )
                                              )
                 Defendants,                  )
                                              )

        [PROPOSED] ORDER GRANTING CONSENT MOTION TO EXTEND TIME TO
                        ANSWER AMENDED COMPLAINT

          For good cause shown, the Court hereby GRANTS Defendant Kimberley Motley’s (“Ms.

  Motley’s”) Consent Motion to Extend Time to Respond to Plaintiffs’ Amended Complaint.

  Accordingly, it is ordered that the deadline for Ms. Motley to answer the Amended Complaint is

  hereby EXTENDED to and including August 21, 2024.

          SO ORDERED, this ____ day of August, 2024.
